     Case 1:16-cr-20461-JEM Document 246 Entered on FLSD Docket 06/16/2017 Page 1 of 7


USDC FLSD 2458(Rev.09/0s)-JvdrnentinaCrlminalCa
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                          U N IT E D ST A T E S D IST R IC T C O U R T
                                                Southern DistrictofFlorida
                                                      M iam iD ivision

   UNITED STATES O F AM ERICA                                 JUD G M EN T IN A CR IM IN AL CA SE

                                                              Case N um ber:16-20461-C R-M AR TIN EZ
      M ILK A YA R LIN A LFA R O                              USM Number:09302-104

                                                              CounselForDefendant:M arcSeitles
                                                              CounselForTheUnited States:Lisa M iller
                                                              CourtReporter:G lenda Powers
Thedefendantpleaded guiltytocountts)1oftheSupersedingIndictment.
Thedefendantisadjudicated guiltyoftheseoffenses:
                                -'j-                                                           OFFENSE   F       '
TITLE & SECTION                  INATURE OF OFFENSE                                                       COUNT
                                                                                               EN DE D
18U.S.C.j 1349           conspirac tocommithealthcarefraudandwirefraud 06/2016           j 1
The defendantis sentenced as provided in the following pages ofthis judgment.The sentence is imposed
pursuanttothe Sentencing Reform Actofl984.
U pon tht m otion ofthe governm entthe rem aining counts ofthe Superseding Indictm ent shallbe dism issed
as to thisdefendant.
It is ordered that the defendant mustnotify the United States attorney forthis districtwithin 30 days of any
change ofnam e,residence,orm ailing addressuntilallfines,restitution,costs,and specialassessmentsimposed
bythisjudgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
attorney ofmaterialchangesin econom iccircum stances.




                                                            DateofImposition ofSentence:6/14/2017




                                                            JoseE .      rtinez           j
                                                            U nited      tes DistrictJudge


                                                            Date:        $ /J-/
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USDC FLSD 2458e..(R ev.09/08)-Judamenti
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DEFENDANT:M ILK A YARLIN ALFARO
CASE NUM BER:16-20461-CR-M ARTlNEZ

                                            IM PRISO NM ENT
The defendantishereby com mitted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
total term of 151 m onths. The term shall be served consecutively to the sentence imposed in docket
16-20507-CR-M OORE.
The court m akes the follow ing recom m tndations to the Bureau of Prisons: The Court recom m ends that
defendantbeplaced atFPC Alderson in W estVirginia,and thatin any circum stances,ifpossible,thatshebe inthe
sameBOP location ashermotherM ildrey De La Cmidad in thissam ecase Reg.No.09301-104.
The Courtwillrecom mend thattheBureau ofPrisonsreview defendant'spossiblerecomm endation ofresidential
drug and alcoholprogram .
Thedefendantisrem anded to the custody oftheUnited StatesM arshal.

                                                                          RETU R N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                                   to     .    -




at                                                     -   ,   with acertiiedcopy ofthisjudgment.




                                                                            UN ITED STA TES M A R SH AL



                                                                            D EPU TY UN ITED STA TES M A RSHA L
    Case 1:16-cr-20461-JEM Document 246 Entered on FLSD Docket 06/16/2017 Page 3 of 7


USDCFLSD2458jRev,09/98)-JudamentinaCriminalCpse                                                               Paze3of7

DEFENDANT:M ILK A YARLIN ALFARO
CASE NUM BER:16-20461-CR-M ARTINEZ

                                                  SUPERVISED RELEASE
Upon release from imprisonment,the defendantshallbe on supervised release fora term of3 years asto CountOne.
Thedefendantm ustreportto theprobation office in thedistrictto which thedefendantisreleased within 72 hoursofrelease
from thecustody ofthe Bureau ofPrisons.
The defendantshallnotcom m itanothexfederal,stateorlocalcrim e.
The defendantshallnotunlawfully possess a controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled stlbstance.The defendantshallsubm itto one drug testw ithin 15 daysofrelease from imprisonm entand atleast
two periodicdrug teststhereafter,asdetermined by the court.
The defendantshallcooperate in the collection ofDNA asdirected by the probation ofllcer.
Thedefendantshallnotpossess a flrearm ,am m unition,destructivedevice,orany other dangerousweapon.

Ifthisjudgmentimposesafineorrestitution,itisacondition ofsupervisedreleasethatthedefendantpay inaccordance
withtheScheduleofPaymentssheetofthisjudgment.
The defendantm ustcomply w ith thestandard conditionsthathavebeen adopted by thiscourtaswellaswith any additional
conditionson the attached page.
                                  STANDARD CO NDITIONS O F SUPERVISION
   1.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
   2.Thedefendantshallreportto theprobation oftkerand shallsubmitatruthfuland completewriden reportwithinthe firstfiheen
     daysofeachmonth;
   3.Thedefendantshallanswertruthfully al1inquiriesby theprobation ofticerand follow theinstructionsoftheprobation officer;
   4.Thedefendantshallsupporthisorherdependentsand meetotherfamilyresponsibilities'    ,
   5.Thedefendantshallwork regularly atalawfuloccupation,unlessexcused bytheprobation officerforschooling,training,or
      otheracceptablereasons;
   6.Thedefendantshallnotify theprobationofficeratleastten dayspriorto any changein residence oremployment;
   7.Thedefendantshallrtfrain from txctssivtuseofalcoholand shallnotpurchase,possess,use,distributt,oradministerany
      controlled substanceorany paraphernaliarelated toany controlledsubstances,exceptasprescribedby aphysician;
   8.Thedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradministered;
   9.Thedefendantshallnotassociatewithanypersonsengaged incriminalactivity and shallnotassociatewith any personconvicted
      ofafelony,unlessgrantedpennissionto doso by theprobation officer;
   10.Thedefendantshallpennitaprobation officerto visithim orheratanytimeathomeorelsewhereandshallpermitconfiscation
      ofany contraband observed in plainview oftheprobation oft k er;
   1l.'l'
        hedefendantshallnotify theprobationofficerwithinseventy-two hoursofbeingarrested orquestioned byalaw enforcement
      officer;
   12.Thedefendantshallnotenterinto any agreementtoactasaninformeroraspecialagentofa law enforcementagency withoutthe
      permission ofthecourt;and
   l3.Asdirectedby theprobation officer,thedefendantshallnotify thirdpartiesofrisksthatm aybeoccasioned bythedefendant's
      criminalrecord orpersonalhistory orcharacteristicsandshallpermittheprobationofficerto makesuchnotificationsand to
      contlrm the defendant'scom pliancewithsuch notifk ation requirem ent.
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DEFENDANT:M ILK A YARLIN ALFARO
CASE NUM BER:16-20461-CR-M ARTINEZ

                                    SPECIAL CONDITIONS OF SUPERVISIO N

FinancialDisclosureRequirem ent-Thedefendantshallprovidecompleteaccessto fnancialinform ation,
includingdisclosureofal1businessandpersonalfinances,totheU .S.Probation Oftk er.

HeaIth CareBusinessRestriction -Thedefendantshallnotown,directly orindirectly,orbeem ployed,directly
orindirectly,in any health carebusinessorservice,which subm itsclaim sto anyprivateorgovem mentinsurance
company,withoutthe Court'sapproval.

NoNew DebtRestriction -Thedefendantshallnotapply for,solicitorincurany furtherdebt,included butnot
lim ited to loans,linesofcrtditorcreditcard chargts,titherasaprincipalorcosigner,asan individualorthrough
any corporateentity,w ithoutflrstobtainingpermission from theUnited StatesProbation Oficer.

Perm issibleSearch -Thedefendantshallsubmitto asearch ofhis/herperson orproperty conducted in a
reasonablemannerand atareasonabletime bytheU .S.Probation Officer.

Self-Employm entRestriction -The defendantshallobtain priorwritten approvalfrom theCourtbeforeentering
into any self-employm ent.
SubstanceAbuseTreatm ent-The defendantshallparticipatein an approved treatm entprogram fordrug and/or
alcoholabuseand abideby a11supplementalconditionsoftreatm ent.Participation m ay include
inpatient/outpatienttreatment.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)based
on ability to payoravailability ofthirdparty paym ent.
Unpaid Restitution,Fines,orSpedalAssessm ents-Ifthe defendanthasany unpaid am ountofrestitution,
fines,orspecialassessm ents,thedefendantshallnotify theprobation ofscerofany m aterialchangein the
defendant'seconom iccircum stancesthatm ightaffectthe defendant'sability to pay.
     Case 1:16-cr-20461-JEM Document 246 Entered on FLSD Docket 06/16/2017 Page 5 of 7


USDC FLSD 2458 (Rev.09/08)-JudymentinaCriminalCase                                              Paae5of6
DEFENDANT:M ILK A YARLIN ALFARO
CASE NUM BER:16-20461-CR-M ARTINEZ

                                CRIM INAL M ONETARY PENALTIES
Thedefendantm ustpay the totalcrim inalm onetary penaltiesunderthe scheduleofpaym entson Sheet6.
                                A ssessm ent              Fine                 Restitution
      TOTA LS                     $100.00                 $0.00              $22,906,267.41
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent!unlessspecified otherwise in the priority order or percentage paym entcolum n below.How ever,
pursuantto18U.S.C.j3664(1),aIInonfederalvictimsmustbepaid beforetheUnitedStatesispaid.
i                                                    TOTAL     RESTITUTION               PRIORITY OR
INAME OFPAYEE                                        LOSSw     ojtosjtso                 psucExu cE
    entersforM edlcare and M edicaid Servlces        $0.00     $22,90$267.
                                                                    .    41
RestitutionwithImprisonment-Itisfurtherorderedthatthedefendantshallpayjointandseveralrestitutionwith
hercodefendantsAdrianaDe LaCaridad Jalil,LuisEnriqueLuzardoand M ildrey DeLaCaridad Gonzalezaswell
astheirco-conspiratorsin docketnumbers16-20444-CR-Lenard,16-20445-CR-M ahinez,16-20447-CR-Ungaro,
16-20449-CR-M iddlebrooks,and 16-20492-CR-W illiam sin the amountof$22,906,267.41.During theperiod of
incarceration,paymentshallbemade asfollows:(1)ifthedefendantearnswagesin aFederalPrison lndustries
(UNICOR)job,thenthedefendantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythis
JudgmentinaCriminalCase;(2)ifthedefendantdoesnotworkinaUNICOR job,thenthedefendantmustpaya
m inimum of$25.00perquartertowardthe financialobligationsimposed in thisorder.
Uponreleaseofincarceration,thedefendantshallpay restitution attherateof10% ofm onthly grossearnings,until
suchtimeasthecourtmayalterthatpaymentscheduleintheinterestsofjustice.TheU.S.BureauofPrisons,U.S.
Probation Office and U.S.Attorney'sOffce shallmonitorthe paymentofrestitution and reportto the courtany
m aterial change in the defendant's ability to pay.These paym ents do not preclude the governm ent, and
subsequently the U.S.Probation Offce from using any otheranticipated orunexpected financialgains,assetsor
incom e ofthe defendantto satisfy the restitution obligations. The restitution shallbe m ade payable to Clerk,
U nited StatesCourts,and fonvarded to the addressbelow .
Therestitution willbeforwarded by theClerk oftheCourttothevictim on the attached list.
#Findingsforthetotalamountoflossesare required underChapters 109A,110,1IOA,and 113A ofTitle 18 for
offensescomm itted on orafterSeptember13,1994,butbeforeApril23,1996.
#*Assessm entdue imm ediately unlessotherwise ordered by theCourt.
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DEFEN DANT:M ILK A YARLIN ALFARO
CASE N UM BER:16-20461-CR-M ARTINEZ

                                      SCH EDULE OF PAYM ENTS
Having assessed the defendant's ability to pay,payment of the total crim inal monetary penalties is due as
follows:
A.Lum p sum paym entof$100.00 dueim m ediately.
Unlessthecourthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
monetary penalties is due during imprisonment.Allcrim inalmonetary penalties,exceptthose paym ents made
through the FederalBureau ofPrisons'lnmate FinancialResponsibility Progrpm ,are m ade to the clerk ofthe
court.

The defendant shallreceive credit for allpaym ents previously made toward any criminal monetary penalties
imposed.
Thisassessment/fne/restitutionispayabletotheCLERK,UNITED STATESCU'URTSandistobeaddressedto:
U.S.CLERK'S OFFICE
ATTN:FINANCIAL SECTION
400 NORTH M IAM IAVENUE,RO OM 08N09
M IAM I,FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately.The U.S.Bureau ofPrisons,U.S.Probation Office and
theU.S.Attorney'
               sOfficeare responsible fortheenforcem entofthisorder.
Jointand Several

Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,Jointand
SeveralAmount,and corresponding payee,ifappropriate.
(CASENUMBER                                                                                                              Jojx'rAxoSEVERAL
DEFENDANT AND CO-DEFENDANT NAMES                                                                TOTAL AMOUYT AMOUNT
(INCLUDING DEFENDANT NUM BER)
16-20461-CR-M ARTm EZ-Adriana De La Caridad Jalil                                               $0.00                    $22,906,267.41
16-20461-CR-M ART1NEZ-LuisEnriqueLuzardo                                                        $0.00                    $22,906,267.41
1
q'
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 1 6-20461-CR-MARTINEZ-Mi1dr
 1'6                       eyDeLaCaridadGonzalez$0.00
                           D avid oll
                                                                                                                          $22,906,
                                                                                                                                 267.41
        20444-cR-LExARD-R. on                       c         ado G onzalez                     $0.00
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                                                                                                                          $22
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jl6-20445-CR-MART1NEZ-LindaM arqpez                                                             $0.00                    I$22,906,267.41
j16-20447-CR-UNGARO-JulioC.Velazquez                                                            $0.00                     $22,906,267.41
71620449-CR-M IDDLEBROOKS-M aiteeGonzalez
    -
                                                                                                $0.00                    $22,906,267.41
$
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116-20492-CR-W ILLIAM S-JuanCastilloM ayedo                                                     $0.00                    $22,.
                                                                                                                             906,267.41
                                                                                                                              ..


The defendant's right, title and interest to the property identified in tht pre
                                                                             : lim inary order of forfeiture
w hich has been entered by theCourton M arch8,2017 (D.E.210)isincorporated into thisJudgmentand
Com m itm ent.
Restitutionisowedjointlyandseverallyby thedefendantand co-defendantsintheabovecase.
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitution principal,(3)restitutioninterest,
     Case 1:16-cr-20461-JEM Document 246 Entered on FLSD Docket 06/16/2017 Page 7 of 7


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(4)ûneprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and (8)costs,includingcostof
prosecution and courtcosts.
